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 9    LOS ANGELES TURF CLUB II, INC.,
10    PACIFIC RACING ASSOCIATION, PACIFIC RACING
      ASSOCIATION II, GULFSTREAM PARK RACING
11    ASSOCIATION, INC., OREGON RACING, INC.,
12    MARYLAND JOCKEY CLUB OF BALTIMORE CITY, INC.,
      and LAUREL RACING ASSOCIATION, INC.
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14

15                          UNITED STATES DISTRICT COURT
16
                           CENTRAL DISTRICT OF CALIFORNIA
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18    LOS ANGELES TURF CLUB,                   )   Case No.: 2:15-cv-9332
      INCORPORATED, a California               )
19    Corporation, LOS ANGELES TURF            )
20    CLUB II, INC., a California Corporation, )   [PROPOSED] ORDER RE
      PACIFIC RACING ASSOCIATION, a )              STIPULATION FOR PROTECTIVE
21    California Corporation, PACIFIC          )   ORDER
22    RACING ASSOCIATION II, a California )
      Corporation, GULFSTREAM PARK             )
23    RACING ASSOCIATION, INC., a              )
24    Florida Corporation, OREGON RACING,)
      INC., a Delaware Corporation,            )
25    MARYLAND JOCKEY CLUB OF                  )
26    BALTIMORE CITY, INC., a Maryland )
      Corporation, and LAUREL RACING           )
27    ASSOCIATION, INC., a Maryland            )
28    Corporation,                             )
                                               )
                                     -1-
             [PROPOSED] ORDER RE STIPULATION FOR PROTECTIVE ORDER
     Case 2:15-cv-09332-SJO-JEM Document 48 Filed 11/17/16 Page 2 of 2 Page ID #:330


 1                Plaintiffs,             )
 2
                                          )
             vs.                          )
 3                                        )
 4
      HORSE RACING LABS, LLC, a           )
      Delaware Limited Liability Company, )
 5    (also known as IMMERSE, LLC), doing )
 6    business as DERBYWARS, and DOES 1 )
      through 10, inclusive,              )
 7                                        )
 8                 Defendants.            )
                                          )
 9                                        )
10                                        )

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            The Court, having read and considered the attached “Stipulation for Protective
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      Order” between the parties, and good cause appearing therefore, hereby orders that the
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      terms of the Stipulation are hereby APPROVED AND SO ORDERED.
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      DATED: 11/17/16
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                                                  ____________________________
17                                                Hon. John E. McDermott
18                                                United States Magistrate Judge

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             [PROPOSED] ORDER RE STIPULATION FOR PROTECTIVE ORDER
